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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         ) CRIMINAL NO. 03-331 (CKK)
                                                  )
                v.                                ) UNDER SEAL
                                                  )
 ISMAEL ZAMBADA GARCIA,                           )
     also known as “Mayo Zambada-                 )
     Garcia,” “Mayo Zambada,”                     )
     “Mayo,” “El Mayo,” and “El                   )
     Viejo,”                                      )
                                                  )
                        Defendant.                )


                      GOVERNMENT’S MOTION TO UNSEAL CASE

       The United States of America, by and through the undersigned attorney, respectfully

move this Court for an order to unseal the case as to defendant, Ismael Zambada Garcia. In light

of the Defendant’s arrest in the United States and appearances in the United States District Court

for the Western District of Texas and the United States District Court for the Eastern District of

New York, the reasons for sealing the arrest warrant, and record no longer apply.

                                           Background

       1.      On April 2, 2009, a federal grand jury sitting in the District of Columbia returned a

Third Superseding Indictment against the defendant, Ismael Zambada Garcia, also known as

“Mayo Zambada-Garcia,” “Mayo Zambada,” “Mayo,” “El Mayo,” and “El Viejo,” (“Defendant”),

Chief Judge Royce C. Lamberth signed the arrest warrant for the Defendant.

       2.      Also on the same day, the Government filed a motion to seal the Indictment and

arrest warrant, based on the grounds of needing to ensure the safety of witnesses and law

enforcement officers and allow the Government the ability to apprehend the Defendant, without

alerting the defendant of his impending arrest.



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       3.     The defendant was arrested on July 25, 2024, and had his initial appearance in the

Western District of Texas on July 26, 2024, and in the Eastern District of New York on September

13, 2024.

       4.     Therefore, because the original concerns for seeking the sealing of the docket are

no longer issues, the Government moves to unseal the docket as to the Defendant.

                                       CONCLUSION


       For all the foregoing reasons, counsel for the Government respectfully requests that the

docket in the present case be unsealed as to Ismael Zambada Garcia, also known as “Mayo

Zambada-Garcia,” “Mayo Zambada,” “Mayo,” “El Mayo,” and “El Viejo.”



                                                   Respectfully Submitted,

                                                   MARLON COBAR, Chief
                                                   Narcotic and Dangerous Drug Section
                                                   Criminal Division
                                                   United States Department of Justice

                                            By:      /s/ Douglas Meisel
                                                   DOUGLAS MEISEL
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